Filed 03/22/18                           Case 17-09005                                Doc 25

                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES


    Adversary Title: Robinson v. Pacific         Case No.:   17−90400 − D − 13
    Motors
                                                 Adv No: 17−09005 − D
                                                 Date and Time: 03/22/2018 at 09:30

    Matter:    Pre−Trial Conference − [1] − (11 (Recovery of money/property − 542
    turnover of property)),(72 (Injunctive relief − other)) : Complaint 17−09005 by
    Jamelia Antoinette Robinson against Pacific Motors. (Fee Amount of $350.00 is
    Exempt.) (eFilingID: 6061909) (jflf)

    Judge: Robert S. Bardwil
    Courtroom Deputy: Nancy Williams
    Reporter: Laura Fowler
    Department: D


    APPEARANCES for :
    Movant(s) :
    (by phone) Plaintiff's Attorney − Ken Neely
    Respondent(s) :
    (by phone) Defendant's Attorney − Kathleen P. March


      PRE−TRIAL CONFERENCE CONTINUED TO: 5/31/18 at 09:30 AM Request of Parties

     The hearing was continued for the following reason(s):
    BDRP order to be issued by chambers and no telephonic appearances to be made at
    the continued pre−trial conference.
